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Southern H&rbct of Texas
UNITED sTATES I)ISTRICT CoURT JAN 3 1 2017
SOUTHERN DISTRICT OF TEXAS
MeALLEN DIvIsIoN md J_ B,ad,ey_ am
UNITED STATES OF AMERICA §
§
v. § Criminal No. :` d m __
§ a it 0043
JILL MARIE MYERS §
CRIMINAL INFORMATION

 

THE UNITED STATES ATTORNEY CHARGES:

From on or about June 2004, to on or about June 20, 2014, in the Southern District of Texas
and within the jurisdiction of the Court, defendant,

JILL MARIE MYERS

with the intent to injure or defraud a bank insured by the Federal Deposit Insurance Corporation,
namely, First National Bank and PlainsCapital Bank, did knowingly make false entries in any
book, report, or statement of the bank, to wit; create false cash out credits for $500,000.00 and
$750,000.()0 along with corresponding false general ledger debits, when in truth and in fact, the
defendant knew that the entries were false and fictitious

ln violation of Title 18, United States Code, Section 1005.

NOTICE OF F()RFEITURE
(Title 18, United States Code, Section 982(21)(2))

Pursuant to Title 18, United States Code, Section 982(a)(2), the United States gives notice
to defendant,
JILL MARIE MYERS
that in the event of conviction, all property, real and personal, constituting, or derived from,
proceeds obtained directly or indirectly as the result of the offense charged in this Information is

subject to forfeiture

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MONEY JUDGMENT
Defendant is notified that a money judgment may be imposed for at least $ l ,25(),0()0.00 in
United States currency.
PR()PERTY SUBJECT TO FORFEITURE
Defendant is notified that the property subject to forfeiture includes, but is not limited to,
the following property:
at least $l,ZS0,000.00 in United States currency.
SUBSTITUTE ASSETS
ln the event that the property subject to forfeiture, as a result of any act or omission of
Defendant
A) cannot be located upon the exercise of due diligence;
B) has been transferred or sold to, or deposited with, a third party;
C) has been placed beyond the jurisdiction of the court;
D) has been substantially diminished in value; or

E) has been commingled with other property which cannot be divided without
difficulty,

the United States will seek to forfeit any other property of the Defendant up to the total value of the
property subject to forfeiture, pursuant to Title lS, Unites States Code, Section 982(b)
incorporating by reference Title 21, United States Code, Section 853(p).

KENNETH MAGIDSON
UNITED/)STATES ATTQRNEY

Rdberlt l:VGueria,'Jf.
Assistant United States Attorney

 

